                                                                       Case 1:15-cr-00329-ADA-BAM Document 18 Filed 07/11/16 Page 1 of 3


                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    ROXANA DODIER

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                                                                                                       UNITED STATES DISTRICT COURT,
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                                                                                                       EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                         Court Case#: 1:15-cr-00329-LJO-SKO
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                          Plaintiff,                  STIPULATION AND O R D E R MODIFYING
                                                                  13                                                  CONDITIONS OF RELEASE
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.
                                                                  14
                                                                       ROXANA DODIER
                                                                  15
                                                                                          Defendant.
                                                                  16

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                                                                              Defendant ROXANA DODIER, though his counsel, respectfully requests that she be
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                                                                       allowed to modify the conditions of his pre-trial release from home incarceration to curfew. Mrs.
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                                                                       DODIER wishes to begin working at Alorica Fresno. Alorica Fresno a support call center for
                                                                  20   Verizon, located at 5104 North Blythe, Fresno, CA 9722, offered her employment opportunity
                                                                  21   and is an excellent opportunity for her to obtain and maintain gainful employment. Mrs. DODIER
                                                                  22   has been on home incarceration since March16, 2016. She is main source of support for her two
                                                                  23   daughters ages 4 and 5. Since her pre-trial release she had no employment and she is struggling
                                                                  24   both financially and emotionally.
                                                                  25          MRS. DODIER, never had any serious violations while on pre-trial release. This new,

                                                                  26   modified condition of release will still afford Pre-Trial services close monitoring of Mrs.DODIER

                                                                  27   in that she will have curfew and will continue to check in to her supervising Pre-Trial officer.

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                                                                       Case 1:15-cr-00329-ADA-BAM Document 18 Filed 07/11/16 Page 2 of 3


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                                                                              This counsel has spoken with the counsel for the government and there is no objection to
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                                                                       this change of the conditions of his pretrial release. Likewise, Ryan Beckwith of Pre-Trial
                                                                  3    Services and he also indicated that if the U.S. Attorney doesn’t object he would not object either.
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                                                                  5           Date:7/7/2016                                         /s/Yan E. Shrayberman
                                                                  6                                                                 YAN E. SHRAYBERMAN
                                                                  7           Date:7/7/2016                                         /s/ Roxana Dodier
                                                                  8                                                                 ROXANA DODIER

                                                                  9           Date:                                                 /s/Melanie Alsworth

                                                                  10                                                                MELANIE ALSWORTH

                                                                  11                                         ORDER
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                            Pursuant to the parties’ Stipulation, IT IS ORDERED, that the conditions of ROXANA
                                                                  13   DODIER’s pretrial release are hereby modified as follows:
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                  14   1.     The following conditions be removed from Ms. Dodier’s conditions of pre-trial
                                                                       release:
                                                                  15
                                                                       The defendant shall participate in the following Location Monitoring component and abide by all
                                                                  16
                                                                       the requirements of the program, which will include use of a location monitoring system. You
                                                                  17   shall comply with all instructions for use and operation of said devices as given to you by the
                                                                       Pretrial Services Agency and employees of the monitoring company. You shall pay all or part of
                                                                  18   the costs of the program based upon your ability to pay as determined by the PSO. HOME
                                                                       INCARCERATION. You shall remain inside your residence at all times except for medical needs
                                                                  19   or treatment; religious services; and court appearances pre-approved by the pretrial services
                                                                       officer.
                                                                  20
                                                                  21   2.     The following condition shall be added to Ms. Dodier’s conditions of release:

                                                                  22   You shall participate in the following location monitoring program component and abide by all
                                                                       the requirements of the program, which will include having a location monitoring unit installed in
                                                                  23   your residence and a radio frequency transmitter device attached to your person. You shall
                                                                  24   comply with all instructions for the use and operation of said devices as given to you by the
                                                                       Pretrial Services Agency and employees of the monitoring company. You shall pay all or part of
                                                                  25   the costs of the program based upon your ability to pay, as determined by the pretrial services
                                                                       officer; CURFEW: You shall remain inside your residence every day from 9:00 PM to 6:00 AM,
                                                                  26   or as adjusted by the pretrial services officer for medical, religious services, employment or
                                                                       Court-ordered obligations.
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                                                                       Case 1:15-cr-00329-ADA-BAM Document 18 Filed 07/11/16 Page 3 of 3


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                                                                                All other pre-trial release conditions shall remain in full force and effect.
                                                                  2

                                                                  3    IT IS SO ORDERED.
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                                                                       Dated:     July 8, 2016                                         /s/   Sheila K. Oberto   .
                                                                                                                            UNITED STATES MAGISTRATE JUDGE
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LAW OFFICES OF YAN E. SHRAYBERMAN




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